Case 3:15-cv-00964-NJR-GCS Document 110 Filed 02/16/18 Page 1 of 5 Page ID #892




                  IN THE UNITED STATES DISTRICT COURT FOR THE
              SOUTHERN DISTRICT OF ILLINOIS, EAST ST. LOUIS DIVISION

  OSBALDO J. NICOLAS,                                      )
                                                           )
                  Plaintiff,                               )
                                                           )
                  v.                                       )   Case No. 15 C 0964
                                                           )
  NATHAN BERRY; WILLIAM QUALLS;                            )   Judge J. Phil Gilbert
  JUSTIN SNELL; MATTHEW PURDOM;                            )   Magistrate Judge Wilkerson
  ROBERT HUGHES; JASON HART; RICHARD                       )
  HARRINGTON; KIMBERLY BUTLER; AND                         )
  AIMEE LANG;                                              )
                                                           )
                  Defendants.                              )   JURY TRIAL DEMANDED


                               PLAINTIFFS’ PRETRIAL DISCLOSURES

         NOW COMES Plaintiff, OSBALDO J. NICOLAS, by and through his attorneys,

  LOEVY & LOEVY, and pursuant to Federal Rule of Civil Procedure 26(a)(3)(A), hereby makes

  the following disclosures:

         1.      The name and, if not previously provided, the address and telephone number of

  each witness—separately identifying those the party expects to present and those it may call if

  the need arises pursuant to Federal Rule of Civil Procedure 26(a)(3)(A)(i):

                 a.      Witnesses the Plaintiff expects to present:

                          i.      Plaintiff Osbaldo Nicolas. May be reached through his
                                  undersigned counsel. Currently housed in the Illinois Department
                                  of Corrections under Inmate Number R-72183.

                         ii.      Clayborn Smith. Currently housed in the Illinois Department of
                                  Corrections under Inmate Number B-13485.

                        iii.      Edgar Diaz. Currently housed in the Illinois Department of
                                  Corrections under Inmate Number M-09630.

                 b.      Witnesses the Plaintiff may call if the need arises:
Case 3:15-cv-00964-NJR-GCS Document 110 Filed 02/16/18 Page 2 of 5 Page ID #893




                    i.   Defendant Richard Harrington. May be reached through his
                         counsel, Melissa Jennings, 500 S. Second Street, Springfield,
                         Illinois.

                   ii.   Defendant Robert Hughes. May be reached through his counsel,
                         Melissa Jennings, 500 S. Second Street, Springfield, Illinois.

                  iii.   Defendant William Qualls. May be reached through his counsel,
                         Melissa Jennings, 500 S. Second Street, Springfield, Illinois.

                  iv.    Defendant Justin Snell. May be reached through his counsel,
                         Melissa Jennings, 500 S. Second Street, Springfield, Illinois.

                   v.    Defendant Jason Hart. May be reached through his counsel,
                         Melissa Jennings, 500 S. Second Street, Springfield, Illinois.

                  vi.    Defendant Matthew Purdom. May be reached through his
                         counsel, Melissa Jennings, 500 S. Second Street, Springfield,
                         Illinois.

                  vii.   Defendant Nathan Berry. May be reached through his counsel,
                         Melissa Jennings, 500 S. Second Street, Springfield, Illinois.

                 viii.   Defendant Aimee Lang. May be reached through his counsel,
                         Melissa Jennings, 500 S. Second Street, Springfield, Illinois.

                  ix.    Dr. John Trost. May be reached at Menard Correctional center,
                         711 Kaskaskia Street, P.O. Box 711, Menard, Illinois.

                   x.    Lt. Kevin Reichert. May be reached at Menard Correctional
                         center, 711 Kaskaskia Street, P.O. Box 711, Menard, Illinois.

                  xi.    Rebecca Cowan. May be reached at Menard Correctional center,
                         711 Kaskaskia Street, P.O. Box 711, Menard, Illinois.

                  xii.   Lt. Kent Brookman. May be reached at Menard Correctional
                         center, 711 Kaskaskia Street, P.O. Box 711, Menard, Illinois.

                 xiii.   Kimberly Butler. May be reached at Menard Correctional center,
                         711 Kaskaskia Street, P.O. Box 711, Menard, Illinois.

                 xiv.    Yvette Baker. May be reached at Menard Correctional center, 711
                         Kaskaskia Street, P.O. Box 711, Menard, Illinois.
Case 3:15-cv-00964-NJR-GCS Document 110 Filed 02/16/18 Page 3 of 5 Page ID #894




         2.      The designation of those witnesses by whose testimony the party expects to

  present by deposition and, if not taken stenographically, a transcript of the pertinent parts of the

  depositions pursuant to Federal Rule of Civil Procedure 26(a)(3)(A)(ii): None.

         3.      An identification of each document or other exhibit, including summaries of other

  evidence—separately identifying those items the party expects to offer and those it may offer if

  the need arises pursuant to Federal Rule of Civil Procedure 26(a)(3)(A)(iii):

                 a.    Exhibits the Plaintiff expects to offer:

                          i.     Inmate Personal Property Receipt (Bates IDOC 204-205)

                         ii.     Affidavit of Edgar Diaz (Bates PL 330-331)

                        iii.     Smith Complaint (Bates IDOC 400-402)

                        iv.      Plaintiff’s Grievances (Bates PL 175-PL 210)

                 b.    Exhibits the Plaintiff may offer:

                          i.     Plaintiff’s Mental Health Records (Bates PL 221-329)

                         ii.     Disciplinary Tickets (Bates IDOC 46-47)

                        iii.     Final Summary Report (Bates IDOC 44-45)

                        iv.      Inmate Injury Report (Bates PL 92-93)

                         v.      Internal Affairs Investigation File (Bates IDOC 398-410)

                        vi.      Defendant Snell’s Response to Plaintiff’s First Set of
                                 Interrogatories (for identification only)

                        vii.     Defendant Quall’s Response to Plaintiff’s First Set of
                                 Interrogatories (for identification only)

                       viii.     Defendant Purdom’s Response to Plaintiff’s First Set of
                                 Interrogatories (for identification only)

                        ix.      Defendant Lang’s Response to Plaintiff’s First Set of
                                 Interrogatories (for identification only)
Case 3:15-cv-00964-NJR-GCS Document 110 Filed 02/16/18 Page 4 of 5 Page ID #895




                   x.    Defendant Hugh’s Response to Plaintiff’s First Set of
                         Interrogatories (for identification only)

                   xi.   Defendant Hart’s Response To Plaintiff’s First Set of
                         Interrogatories (for identification only)

                  xii.   Defendant Harrington’s Response to Plaintiff’s First Set of
                         Interrogatories (for identification only)

                 xiii.   Defendant Berry’s Response to Plaintiff’s First Set of
                         Interrogatories (for identification only)

                 xiv.    Defendant Harrington’s Deposition Transcript taken in the matter
                         of Walker v. Atchinson, Case No. 3:14-CV-429-NJR-DGW (for
                         identification only) (Bates PL 332-468)

                  xv.     Defendant Harrington’s Deposition Transcript, Nicolas v. Berry et
                         al., Case No. 15 CV 0964 (for identification only)

                 xvi.    Defendant Snell’s Deposition Transcript, Nicolas v. Berry et al.,
                         Case No. 15 CV 0964 (for identification only)

                 xvii.   Defendant Quall’s Deposition Transcript, Nicolas v. Berry et al.,
                         Case No. 15 CV 0964 (for identification only)

                xviii.   Defendant Purdom’s Deposition Transcript, Nicolas v. Berry et al.,
                         Case No. 15 CV 0964 (for identification only)

                 xix.    Defendant Lang’s Deposition Transcript, Nicolas v. Berry et al.,
                         Case No. 15 CV 0964 (for identification only)

                  xx.    Defendant Hughes’ Deposition Transcript, Nicolas v. Berry et al.,
                         Case No. 15 CV 0964 (for identification only)

                 xxi.    Defendant Hart’s Deposition Transcript, Nicolas v. Berry et al.,
                         Case No. 15 CV 0964 (for identification only)

                 xxii.   Defendant Berry’s Deposition Transcript, Nicolas v. Berry et al.,
                         Case No. 15 CV 0964 (for identification only)
Case 3:15-cv-00964-NJR-GCS Document 110 Filed 02/16/18 Page 5 of 5 Page ID #896




                                                Respectfully Submitted,

                                                /s/ Julie M. Goodwin
                                                One of Plaintiff’s Attorneys

                                                Arthur Loevy
                                                Julie Goodwin
                                                Sarah Grady
                                                LOEVY & LOEVY
                                                311 N. Aberdeen, 3rd Floor
                                                Chicago, IL 60607
                                                (312) 243-5900
                                                julie@loevy.com




                                  CERTIFICATE OF SERVICE

          I, Julie Goodwin, an attorney, hereby certify that on February 15, 2018, I electronically
  filed Plaintiff’s Pretrial Disclosures with the Clerk of the Court using the CM / ECF filing
  system, which sends notice to all counsel of record.

                                                /s/ Julie M. Goodwin
